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        IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN
                DISTRICT OF TENNESSEE EASTERN DIVISION
_______________________________________________________________________

UNITED STATES OF AMERICA

Plaintiff,

vs.                                           No: 1:19-cr-10032-STA

AMANDA DAY

Defendant.
_____________________________________________________________________________

  ORDER ON MOTION TO CHANGE REPORT TIME AND NOTICE OF SETTING
_____________________________________________________________________________

       Before the Court is the Defendant, AMANDA DAY’s May 8, 2019 Motion To Change

Report Time.

       For good cause shown, the Motion is GRANTED. The hearing for report is reset to

Monday, May 13, 2019 at 10:00 A.M., SO ORDERED this 9th day of May, 2019.



                                          s/S. Thomas Anderson
                                         CHIEF JUDGE S. THOMAS ANDERSON
                                         UNITED STATES CHIEF DISTRICT JUDGE
